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8                                   UNITED STATES DISTRICT COURT

9                                 SOUTHERN DISTRICT OF CALIFORNIA

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                                                             Case No.: 20-cv-0993-JLS(BLM)
11    EDWARD R. GALLAGHER,,

12                                          Plaintiff,       ORDER SETTING TELEPHONIC
                                                             CONFERENCE CALL
13    v.
                                                             [ECF No. 72]
14    DAVID PHILIPPS, et al.,

15                                      Defendants.
16

17          On November 5, 2021, Federal Defendant filed a Notice of Discovery Dispute requesting
18   the Court to issue an order scheduling a conference call involving counsel for Plaintiff and Federal
19   Defendant. ECF No. 72 at 4. Defendant states that “Federal Defendant’s counsel has been
20   unable to schedule a conference call with Chambers [] because Plaintiff’s counsel have not
21   cooperated with Federal Defendant’s counsel’s efforts to do so.” Id. at 2.
22          Good cause appearing, all counsel of record are ordered to participate in a conference
23   call with the Court’s chambers on November 12, 2021 at 10:30 a.m.
24          IT IS SO ORDERED.
25   Dated: 11/10/2021
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                                                                                      20-cv-0993-JLS(BLM)
